Case 1:20-cv-22828-PAS Document 9 Entered on FLSD Docket 10/20/2020 Page 1 of 2



                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                    CASE NO.: 20-CV-22828-SEITZ/REID
                                          (11-CR-20652-SEITZ)


 JOSE MURPHY,

         Movant,
 vs.

 UNITED STATES OF AMERICA,

       Respondent.
________________________________________/

                   ORDER ADOPTING REPORT, DISMISSING MOTION TO VACATE
                                    AND CLOSING CASE

        THIS CAUSE is before the Court on the Report of the Magistrate Judge [DE 8] recommending that the

Movant’s Motion to Vacate pursuant to 28 U.S.C. § 2255 [DE 1] be dismissed. The Report makes the

recommendation because the Movant failed to comply with the Order that directed him to file a second amended

Motion to Vacate. Movant has not objected to the Report and the time for doing so has elapsed. Having

conducted a de novo review of the record, the Court finds that the Report correctly recommends that the

Movant’s Motion be dismissed pursuant to Fed. R. Civ. P. 41(b) for failing to comply with the Court’s orders.

        Movant Jose Murphy is currently serving a 12-month prison sentence for the revocation of his

supervised release in Case No. 11-20652-CR-SEITZ. In the underlying criminal case, Murphy pled guilty to

one count of carjacking in violation of 18 U.S.C. 2119 and was sentenced to 110 months’ imprisonment and

three (3) years of supervised release. [See DE 23, 25, 36, Case No. 11-20652-CR-SEITZ].

        On June 2, 2020, Murphy filed a Motion to Vacate his sentence in the underlying criminal case, and on

July 10, 2020, filed an Amended Motion to Vacate [DE 1, 3]. The Magistrate Judge determined that Murphy’s

Amended Motion to Vacate was insufficiently pled because he failed to provide supporting facts for his claims.

The Magistrate Judge ordered the Movant to submit a second amended motion on or before August 17, 2020

and cautioned that failure to comply with that Order would result in dismissal of the action [DE 6 at 7]. The

Movant failed to file a second amended Motion to Vacate as ordered. Thus, the Report recommends that the
 Case 1:20-cv-22828-PAS Document 9 Entered on FLSD Docket 10/20/2020 Page 2 of 2



Amended Motion to Vacate be dismissed pursuant to Federal Rule of Civil Procedure 41(b) for failing to

comply with the Court’s order and to properly litigate the case [DE 8 at 3].

        Having conducted a de novo review of the Magistrate Judge’s Report and the record as a whole, it is

clear that the Movant failed to file a second amended Motion to Vacate by August 17, 2020, as ordered.

Furthermore, as of the date of this Order, Movant has still not filed a Second Amended Motion to Vacate

correcting the deficiencies noted in the Magistrate Judge’s July 15, 2020 Order. Nor has Movant filed any

objections to the Report’s recommendation that his Motion to Vacate be dismissed pursuant to Fed. R. Civ. P.

41(b). Therefore, it is

        ORDERED THAT

        (1) The Report of the Magistrate Judge [DE 8] is AFFIRMED AND ADOPTED, and incorporated by

             reference into this Court’s Order;

        (2) Movant’s Amended Motion to Vacate [DE 3] is DISMISSED, pursuant to Fed. R, Civ. P. 41(b).

        (3) This case is CLOSED.

        DONE AND ORDERED in Miami, Florida, this 20th day of October, 2020.



                                                  ________________________________
                                                  PATRICIA A. SEITZ
                                                  UNITED STATES DISTRICT JUDGE



cc:     Magistrate Judge Reid
        All Counsel of Record




                                                        2
